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AO 91 (Rev. 08/09) Criminal Complaint



                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District of Florida

                   United States of America                      )
                               V.                                )
                                                                 )      Case No. 21-8114-BER
                                                                                                   TM

                                                                                             Apr 1, 2021

                                                                                                    West Palm Beach




                                                                 )
                 RUDY PEREZ-DOMINGO                              )
                                                                 )
                           Defendant(s)


                                                  CRIMIN AL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 March 28 2021                in the county of _ _ _ _P_a_lm
                                                                                                     _ B_e_a_c_h_ _ _ in the
     Southern          District of          Florida         , the defendant(s) violated:

            Code Section                                                   Offense Description

Title 8 U.S.C. 1326(a)                                           Illegal re-entry after deportation


                                                                                                                      TM

                                                                                             Apr 1, 2021
         This criminal complaint is based on these facts:
See Attached Affidavit                                                                                                 West Palm Beach




         ~ Continued on the attached sheet.



                                                                                             ;;;pkiinant 's signature

                                                                                         TFO Andy Korzen, HSI
                                                                                            Printed name and title

Sworn and Attested to me by Applicant by Telephone (FaceTime) pursuant to Fed. R. Crim. P. 4(d) and 4.1


Date:
                                                                                                 Judge's signature

City and state :                    West Palm Beach FL                           Bruce E. Reinhart, U.S. Magistrate Judge
                                                                                            Printed name and title
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                               AFFIDAVIT OF ANDY KORZEN
                    UNITED STATES DEPARTMENT OF HOMELAND SECURITY
                        IMMIGRATION AND CUSTOMS ENFORCEMENT

               I, Andy Korzen, being duly sworn, depose and state as follows:

               1.      I am a Task Force Officer (TFO) with the Homeland Security

     Investigations (HSI), and I am also Deportation Officer with the Immigration and

     Customs Enforcement (ICE) and have been so employed for over seventeen years. I am

     currently assigned to the Homeland Security Investigations, West Palm Beach, Florida.

     My duties and responsibilities include enforcing criminal and administrative immigration

     laws of the United States. I have also conducted and participated in investigations of this

     nature.

               2.      This affidavit is based upon my own knowledge as well as information

     provided to me by other law enforcement officers. This affidavit does not set forth every

     fact known to me regarding the investigation but only those facts necessary to establish

     probable cause to believe that Rudy PEREZ-DOMINGO committed the offense of illegal

     re-entry after deportation, in violation of Title 8, United States Code, Section 1326(a).

               3.      _On or about March 28, 2021, Rudy PEREZ-DOMINGO was arrested in

     Palm Beach County, Florida for battery and preventing communication with a law

     enforcement officer. He was booked and detained at the Palm Beach County Jail. Upon

     booking, his fingerprints were entered into the IAFIS system resulting in a positive match

     for an individual previously removed from United States, that is, Rudy PEREZ-

     DOMINGO.

               4.      A review of the immigration alien file shows that Rudy PEREZ-

     DOMINGO is a native and citizen of Guatemala. Records further show that on or about
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     September 18, 2017, Rudy PEREZ-DOMINGO was ordered removed from the United

     States. The Order of Removal was executed on or about September 29, 2017, whereby

     Rudy PEREZ-DOMINGO was removed from the United States and returned to

     Guatemala.

            5.      Rudy PEREZ-DOMINGO ' s fingerprints taken in connection with his

     March 28, 2021 arrest in Palm Beach County were scanned into the IAFIS system. The

     results confirmed that the scanned fingerprints belong to the individual who was

     previously removed from the United States, that is, Rudy PEREZ-DOMINGO.

            6.      A records check was performed in the Computer Linked Application

     Informational Management System (CLAIMS) to determine if Rudy PEREZ-DOMINGO

     filed an application for permission to reapply for admission into the United States after

     deportation or removal. After a search was performed in that database system, no record

     was found to exist indicating that Rudy PEREZ-DOMINGO obtained consent from the

     Attorney General of the United States or from the Secretary of Homeland Security, for

     re-admission into the United States, as required by law.

            7.     Based on the foregoing, I submit that probable cause exists to believe that,

     on or about March 28, 2021 , Rudy PEREZ-DOMINGO, an alien who was previously

     deported and removed from the United States, was found in the United States, without

     having received express consent from the Attorney General or the Secretary of the

     Department of Homeland Security for re-admission into the United States, in violation of




                                                 2
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     Title 8, United States Code, Section l 326(a).




                                                  Deportation Officer
                                                  Immigration and Customs Enforcement


     Sworn and Attested to me by Applicant by Telephone (FaceTime) pursuant to Fed. R.
     Crim. P. 4(d) and 4.1 in West Palm Beach, Florida this _ _ _ day of April 2021.



                                                  BRUCE REINHART
                                                  UNITED STA TES MAGISTRATE JUDGE




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                Case No.   21-s114-BER




  UNITED STATES OF AMERICA

  v.

   RUDY PEREZ-DOMINGO


                     Defendant.
  - - - - - - - - - - - - - - -I


                                   CRIMINAL COVER SHEET

   1.   Did this matter originate from a matter pending in the Central Region of the United States
        Attorney's Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?          Yes ✓ No

  2.    Did this matter originate from a matter pending in the Northern Region of the United States
        Attorney ' s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? _Yes_{_ No

  3.    Did this matter originate from a matter pending in the Central Region of the United States
        Attorney's Office prior to October 3, 2019 (Mag. Judge Jared Strauss)?           Yes ✓ No




                                                Respectfully submitted,

                                                JUAN ANTONIO GONZALEZ
                                                ACTING UNITED STA TES ATTORNEY
                                        BY:     ~        Tueuuuu·
                                                Rinku Tribuiani
                                                ASSISTANT UNITED STA TES ATTORNEY
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